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              IN THE UNITED STATES DISTRICT COURT FOR THE
                   EASTERN DISTRICT OF PENNSYLVANIA

JANE W, in her individual capacity, and in her
capacity as the personal representative of the
estates of her relatives, James W, Julie W and Jen
W,
JOHN X, in his individual capacity, and in his
capacity as the personal representative of the           Case No. 2:18-CV-00569-PBT
estates of his relatives, Jane X, Julie X, James X
and Joseph X,
JOHN Y, in his individual capacity,
                            and

JOHN Z, in his individual capacity
                                      Plaintiffs,
                            v.

MOSES W. THOMAS,
                                      Defendant.


      PLAINTIFFS’ REPLY MEMORANDUM OF LAW IN SUPPORT OF
          MOTION FOR LEAVE TO PROCEED ANONYMOUSLY

        In opposing the Motion of Plaintiffs Jane W, John X, John Y, and John Z

(“Plaintiffs”) for Leave to Proceed Anonymously, Defendant Moses W. Thomas

(“Defendant”) confuses two different issues: the legal standard governing a motion

for leave to proceed anonymously, which balances Plaintiffs’ fear of harm with the

public’s interest in information, and Defendant’s right to take discovery at the

appropriate time. Defendant’s opposition consists primarily of irrelevant and

misplaced arguments about the latter, which is not implicated by Plaintiffs’ motion.




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        The Third Circuit has expressly sanctioned anonymity where, as here, the

plaintiffs “ha[ve] a reasonable fear of severe harm that outweighs the public’s interest in

open litigation.” Doe v. Megless, 654 F.3d 404, 408 (3d Cir. 2011), cert. denied, 132 S.

Ct. 1543 (2012). On a motion for leave to proceed anonymously, the court weighs two

interests: the public’s interest in information versus a plaintiff’s fear of harm. Plaintiffs’

motion does not implicate Defendant’s claimed need for information, which, as

Defendant’s own papers recognize, will be determined during the normal course of

discovery through negotiation or adjudication, including by the use of protective orders

as appropriate. See Opp. at 5. And Plaintiffs’ anonymity in no way impedes Defendant’s

ability to defend himself on the pleadings: he has already filed a motion to dismiss,

identifying no issues on which he needs information about Plaintiffs’ identities.

        Throughout his opposition, Defendant conflates his interests with those of the

public, arguing, for example, that “the public is interested in the identities of the Plaintiffs

to test the veracity of their claims.” Opp. at 8. But it is not the public’s role to test

Plaintiffs’ claims. The public’s interest is in being able to follow court proceedings. The

Third Circuit has developed a multi-factor test to balance that interest with a plaintiff’s

fear of harm; as outlined in the memorandum of law supporting Plaintiffs’ motion, every

factor weighs in favor of granting Plaintiffs’ motion for leave to proceed anonymously.

        Defendant’s remaining arguments do nothing to rebut that. Contrary to

Defendant’s contention, Plaintiffs need not name a specific “individual who poses a

threat of harm to them.” Opp. at 7. See, e.g., Doe v. Provident Life and Acc. Ins. Co.,

176 F.R.D. 464, 467 (E.D. Pa. 1997) (granting motion to proceed anonymously where


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plaintiff feared being “stigmatized in the community”); Doe v. Unum Life Ins. Co. of

America, Civil Action No. 13-6900, 2014 WL 1599919, at *2 (E.D. Pa. Apr. 18, 2014)

(same). And as the declarations submitted in support of Plaintiffs’ motion show, the facts

that the Massacre occurred some time ago, that Defendant lives in the United States, and

that Liberia has held peaceful elections since the Massacre, see Opp. at 7, fail to

undermine Plaintiffs’ well-supported fear of harm should their names be disclosed.

       For the reasons set forth above and in Plaintiffs’ initial moving papers,

Plaintiffs respectfully request that the Court enter an order granting Plaintiffs leave to

proceed anonymously.

Dated: June 8, 2018                                   Respectfully submitted,

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